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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                          Case No.: 18-cv-3264
       Plaintiff,
                                                          Judge Manish S. Shah
v.
                                                          Magistrate Judge Jeffrey Cole
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.
                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

 Dismissal, without prejudice, as to Defendant No. 797, identified on Schedule A.

 DATED: June 8, 2018                                 Respectfully submitted,

                                                     /s/ Keith A. Vogt
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                                                     ATTORNEY FOR PLAINTIFF


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
 document was electronically filed on June 8, 2018 with the Clerk of the Court using the CM/ECF
 system, which will automatically send an email notification of such filing to all registered
 attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq.
